1          Edward J. Maney
           Chapter 13 Trustee
2          101 N. First Ave., Suite 1775
           Phoenix, Arizona 85003
3          Telephone (602) 277-3776
           ejm@maney13trustee.com
4
                                   IN THE UNITED STATES BANKRUPTCY COURT
5                                          FOR THE DISTRICT OF ARIZONA

6          In re:                                          )       CHAPTER 13 PROCEEDINGS
                                                           )
7                                                          )       CASE NO. # 2: 20-06621-MCW
           SINDRES MAKIE MASON-MITCHELL,                   )
8          TAMARCUS MITCHELL SR.,                          )       TRUSTEE'S EVALUATION AND
                                                           )       RECOMMENDATION(S) REPORT WITH
9                                                          )       NOTICE OF POTENTIAL DISMISSAL IF
                                                           )       CONDITIONS ARE NOT SATISFIED
10                                                         )
                                           (Debtor(s)      )       RE: CHAPTER 13 PLAN
11

12                  Edward J. Maney, Trustee, has analyzed the Debtors’ Chapter 13 Plan and supporting

13         documents and submits the following evaluation and recommendation(s):
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      General requirements:
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           a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                  all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                    the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                  submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19     b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                    amended plan or motion for moratorium.
20
       c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                  Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                    copies of their federal and state income tax returns for every year during the duration of the
23                  Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24     e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                    Order shall not constitute an informal proof of claim for any creditor.”
25
      f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                  remit all payments on or before the stated due date each month. Debtor is advised that when
                    payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                    a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                  Case can be discharged. This requirement is effective regardless of Plan payments
                    suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

     Case 2:20-bk-06621-MCW                 Doc 20      Filed 08/24/20     Entered 08/24/20 11:45:49         Desc
                                                        Page 1 of 4
1                                                                         Trustee’s Recommendation
                                                                          Case No.# 2: 20-06621-MCW
2                                                                         Page #2

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       g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
5           on all required tax filings and any domestic support orders.
6      h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
            Confirming, that they are current on all payments that have come due on any Domestic Support
7           Orders since the filing of their case and that they are current on all required tax return
            filings [pursuant to 11 U.S.C. §1308].
8
       i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
9
            accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
10          Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
            Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
11          counsel.

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      Specific Recommendations:
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      1.    The Trustee requires the debtors supply a copy of statements that reveals the balance on
17          hand - in all of their financial/bank accounts - on the date of the filing of their case.
18
      2.    The Arizona Department of Revenue's proof of claim [#1] dated June 2, 2020 indicates Debtor
19          has not filed income tax returns for 2011, 2012, 2013, 2015, 2016, 2018 and unfiled TPT 12-
            2018 thru 5-2020. The Trustee requires Debtor to immediately prepare and file all unfiled tax
20          returns. Failure to file said returns or the required Affidavit within 30 days from the date of
            this Trustee's Recommendation and providing a stamped copy of said returns may result
21          in the Trustee lodging an Order automatically dismissing Debtor's case.

22    3.    The Chapter 13 Plan states that PAC Auto Finance (2007 Chevy Tahoe) will be paid an amount
            greater than that listed on the proof of claim [#4]. The debtor(s) may use the lesser claim amount
23          in the Stipulated Order Confirming Plan.

24    4.    Considering items #2 and #3 above, the Trustee's analysis reveals a $13,686 funding shortfall
            including Chapter 7 Reconciliation, which must be cured before the Plan can be confirmed.
25
      5.    The Debtors received significant tax refunds for 2019, which, if allowed to continue, would
26          constitute a diversion of projected disposable income. The Trustee requires the Debtors to
            adjust payroll tax deductions to prevent over- or under-withholding, amend Schedule I
27
            increasing Plan payments accordingly and provide two consecutive pay stubs to verify this
28          has been corrected OR turn over tax refunds for each year during the life of the plan (2020,
            2021 and 2022) as supplemental plan payments.

     Case 2:20-bk-06621-MCW        Doc 20     Filed 08/24/20      Entered 08/24/20 11:45:49         Desc
                                              Page 2 of 4
1                                                                        Trustee’s Recommendation
                                                                         Case No.# 2: 20-06621-MCW
2                                                                        Page #3

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      6.    Plan fails to provide a specific day of the month by which the first and subsequent payments are
6           to be paid into the Plan. The Trustee has established a constructive payment due date of the
            30th day of the month with the first interim payment to be paid on or before June 30, 2020.
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10                  In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
11          Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
12           General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, subject to timely filed and allowed claims. Chapter 7
13          reconciliation requirement must be met given debtors’ scheduled $21.75 equity in non-exempt
            property at petition date. You are hereby advised that the Trustee may lodge an Order of
14          Dismissal should Debtor fail to resolve item(s) #1, #2, #4 above and submit a Stipulated
            Order Confirming to the Trustee for review and signature or request a hearing within 30
15          days from the date of the mailing of this Trustee's Recommendation.

16

17
            Date See Electronic Signature Block
18

19                                                               EDWARD J. MANEY,
                                                                 CHAPTER 13 TRUSTEE
20

21
                                                                                Digitally signed
22
                                                              Edward            by Edward J.
                                                                                Maney, Esq.
                                                              J. Maney,
23

24                                                                              Date:
25
                                                          By:
                                                              Esq.              2020.08.24
                                                                                11:07:28 -07'00'
                                                                _______________________________
26                                                               Edward J. Maney ABN 12256
                                                                 CHAPTER 13 TRUSTEE
27                                                               101 North First Ave., Suite 1775
                                                                 Phoenix, Arizona 85003
28                                                               (602) 277-3776
                                                                 ejm@maney13trustee.com

     Case 2:20-bk-06621-MCW        Doc 20     Filed 08/24/20     Entered 08/24/20 11:45:49        Desc
                                              Page 3 of 4
1                                                                          Trustee’s Recommendation
                                                                           Case No.# 2: 20-06621-MCW
2                                                                          Page #4

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            Copies of the forgoing
6           mailed on [see electronic signature],
            to the following:
7

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9
            Sindres Mason-Mitchell
10          Tamarcus Mitchell
            6821 South 58th Avenue
11          Laveen, Arizona 85339
            Debtors
12

13

14          Thomas A. McAvity, Esq.
            4602 East Thomas Road
15          Suite S-9
            Phoenix, Arizona 85028
16          Debtors’ counsel

17

18

19

20
                Susan     Digitally signed by
                          Susan Havermale

                Havermale Date: 2020.08.24
21
                          11:15:31 -07'00'
22          By:
                     Trustee’s Clerk
23

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     Case 2:20-bk-06621-MCW            Doc 20       Filed 08/24/20   Entered 08/24/20 11:45:49   Desc
                                                    Page 4 of 4
